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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       -against-
                                                19-CR-561 (LAP)
STEVEN DONZIGER,                                11-CV-691 (LAK)

                   Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

       The Court issues this order to reiterate its findings at

the Curcio hearing held on August 24 and 27, 2020, at which the

Court disqualified two attorneys on Mr. Donziger’s defense team

-- Richard Friedman and Zoe Littlepage -- and again ordered that

if Mr. Donziger’s other counsel -- Martin Garbus and Lauren Regan

-- decline to appear in a manner acceptable to him or are unable

to act as lead counsel, his former lead attorney, Andrew Frisch,

will represent Mr. Donziger at trial beginning on September 9.

  I.     Request for a Curcio Hearing

       On August 11, 2020, the Government filed a motion asking

the Court to hold a hearing consistent with the principles set

forth in United States v. Curcio, 680 F.2d 881 (2d Cir. 1982) to

examine potential conflicts of interest with respect to Mr.

Friedman and Ms. Littlepage.        (Dkt. no. 118.)     Curcio hearings

are an outshoot of the Sixth Amendment’s guarantee that criminal

defendants receive effective assistance of counsel, which


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includes “the right to representation by conflict-free counsel.”

United States v. Schwarz, 283 F.3d 76, 90 (2d Cir. 2002)

(quoting United States v. Blau, 159 F.3d 68, 74 (2d Cir. 1998)).

“Where an attorney suffers from a waivable actual or potential

conflict, the district court must conduct a Curcio hearing to

determine whether the defendant will knowingly and intelligently

waive his right to conflict-free representation.”           United States

v. Arrington, 941 F.3d 24, 40 (2d Cir. 2019).

      In its motion, the Government informed that Mr. Friedman

and Ms. Littlepage might be conflicted because they represented

Mr. Donziger in the civil RICO case underlying this contempt

proceeding and that at the upcoming criminal trial, the

Government plans to introduce into evidence correspondence from

2014 between Chevron’s counsel, Mr. Friedman, Ms. Littlepage,

and Mr. Donziger related to Mr. Donziger’s alleged noncompliance

with the RICO judgment, which forms the basis of two of the

contempt charges against Mr. Donziger.         (Dkt. no. 118 at 1, 2-

4.)   The Government noted that although it did not plan to call

Mr. Friedman or Ms. Littlepage as witnesses at trial, their

appearance on the 2014 correspondence might make them unsworn

witnesses or impact a defense theory of the case.           (Id. at 2-4.)

Accordingly, the Government asked the Court to conduct an

inquiry into whether Mr. Friedman and Ms. Littlepage had any

conflict based on their involvement in the 2014 correspondence

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and in the post-judgment proceedings in the civil RICO case and

to assess whether their involvement might impact Mr. Donziger’s

defense at trial.      (Id. at 8.)

    On August 17, 2020, Mr. Donziger’s attorneys filed a two-

sentence response to the Government’s request for a Curcio

hearing, stating that “[w]hile we do not believe the prosecution

has shown a need for such a hearing, we have no objection if the

Court wishes to hold one.”       (Dkt. no. 125.)

    That same day, the Court entered an order directing the

parties to appear for a Curcio hearing and, consistent with the

practice in this Court, invited the Government to propose

questions for the Court to pose to Mr. Donziger as part of the

inquiry.    (Dkt. no. 127.)     On August 21, 2020, the Government

filed a letter with its proposed Curcio questions.

  II.    Curcio Hearing

    The Court held the Curcio hearing on August 24 and 27,

2020.    On the first day of the hearing, the Court asked Mr.

Friedman and Ms. Littlepage about the 2014 correspondence and

their roles, if any, in the post-judgment civil proceedings

underlying Mr. Donziger’s contempt charges.          Mr. Friedman and

Ms. Littlepage declined to answer those questions on the basis

of attorney-client privilege.        The Court concluded, however,

that to the extent Mr. Friedman and Ms. Littlepage had any

conflict of interest, it was at most a “potential conflict” that

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Mr. Donziger could waive if he so chose.          See United States v.

Stein, 410 F. Supp. 2d 316, 24 (S.D.N.Y. 2006) (noting that if

the court finds that the lawyer only has “a potential conflict,

then it may accept a defendant’s knowing and intelligent waiver

of his right to conflict-free counsel” (quoting United States v.

Perez, 325 F.3d 115, 125 (2d Cir. 2003)).          The hearing then

adjourned so that Mr. Donziger could consult with independent

counsel regarding the waiver question.           When the hearing

reconvened on August 27, Mr. Donziger, having consulted with

several independent lawyers, stated that “at this time” he could

not waive any potential conflicts as to Mr. Friedman and Ms.

Littlepage.     Accordingly, the Court disqualified Mr. Friedman

and Ms. Littlepage as Mr. Donziger’s counsel.

    As the Court noted at the August 27 hearing, it harbors

serious doubts that Mr. Donziger’s decision declining to waive

the potential conflict arises from a good faith concern about

prejudice to his defense rather than a desire to delay the trial

date.    The facts that precipitated the Curcio hearing were not

news to Mr. Donziger.      He was there in 2014 when Mr. Friedman

and Ms. Littlepage were copied on correspondence in the civil

RICO case, and he knows the extent of their involvement, if any,

in that proceeding.      As a lawyer, he should have understood what

a conflict of interest is and how it might affect his case when



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he retained Mr. Friedman and Ms. Littlepage as his criminal

defense attorneys.

    If Mr. Donziger did not realize the impact of a conflict

when he retained Mr. Friedman and Ms. Littlepage, he surely

should have realized it last May, when, as Mr. Donziger and his

counsel have acknowledged, the Government first mentioned the

possible need for a Curcio inquiry to the defense.          Mr. Donziger

proceeded with Mr. Friedman and Ms. Littlepage as his counsel

nonetheless.   Later on, in July, he voiced no concerns when his

then-lead attorney, Andrew Frisch, moved to withdraw and stated

that Mr. Friedman would “assume the role as Mr. Donziger’s lead

counsel” or when the Court granted Mr. Frisch’s withdrawal

motion on the express condition that it would “not affect the

trial date.”   (Dkt. no. 99.)     Nor did Mr. Donziger raise

concerns when the Government formally requested a Curcio hearing

on August 11; much the contrary, his lawyers responded that the

Government “has [not] shown a need for such a hearing.”           (Dkt.

no. 125.)   But now, with trial two weeks away, and in the wake

of multiple failed motions from his lawyers to delay trial, Mr.

Donziger finally objects to proceeding with Mr. Friedman and Ms.

Littlepage as his attorneys.      Given that context, concluding

that his waiver decision was based on anything other than delay

tactics would strain credulity.



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     After disqualifying Mr. Friedman and Ms. Littlepage and

being told that Mr. Garbus would not attend in person and was

purportedly unable to participate by video and that Ms. Regan

could not act as lead counsel, the Court directed that if Mr.

Donziger’s other attorneys did not appear to represent him at

trial in a manner acceptable to him, Mr. Frisch would be his

trial counsel.    This also does not come as news to Mr. Donziger.

In an order issued on August 24 -- the first day of the Curcio

hearing -- the Court stated that “[i]f Mr. Donziger’s current

counsel decline to attend the long-scheduled trial in person and

Mr. Donziger finds that unacceptable, or if Mr. Donziger

declines to waive any potential conflict with respect to Mr.

Friedman and Ms. Littlepage that the Court might find to exist,

the condition on which the Court permitted Mr. Frisch to

withdraw as Mr. Donziger’s counsel -- i.e., that his withdrawal

‘not affect the trial date’ -- would not be satisfied, and the

Court’s order conditionally allowing his withdrawal would be

null and void.”    (Dkt. no. 138 at 3.)     That potentiality has now

come to pass, thereby voiding Mr. Frisch’s conditional

withdrawal and requiring his appearance as Mr. Donziger’s

attorney at trial.

      At the close of the Curcio hearing, Mr. Donziger argued

that Mr. Frisch has two conflicts of interest that barred him

from now serving as defense counsel.       First, Mr. Donziger stated

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that he and Mr. Frisch have an unresolved dispute about unpaid

legal fees that has led to a “lack of trust” between them.

Second, Mr. Frisch is counsel of record in an unrelated civil

forfeiture case pending before the Court, and Mr. Donziger

asserted that Mr. Frisch has concerns about whether his vigorous

advocacy on behalf of Mr. Donziger might affect the Court’s view

of Mr. Frisch or his client in that unrelated civil case.

    Treating Mr. Donziger’s arguments as a motion to disqualify

Mr. Frisch, that motion is denied.       Neither of the issues

flagged by Mr. Donziger creates a conflict that would preclude

Mr. Frisch from serving as trial counsel.        “There is an actual,

relevant conflict of interests if, during the course of the

representation, the defendants’ interests do diverge with

respect to a material factual or legal issue or to a course of

action.”    United States v. O’Neil, 118 F.3d 65, 71 (2d Cir.

1997) (quoting Cuyler v. Sullivan, 446 U.S. 335, 356 n.3

(1980)).    That is not the case here.     As to the fee dispute, the

Court of Appeals has observed that “[t]here is little question

that a defendant’s failure to pay fees may cause some

divisiveness between attorney and client, but we presume that

counsel will continue to execute his professional and ethical

duty to zealously represent his client, notwithstanding the fee

dispute.”    Id. at 71 (holding that a fee dispute resulting in a

civil collection action against the defendant did not create a

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conflict).     The same holds true with respect to Mr. Frisch’s

representation of Mr. Donziger.            As for Mr. Frisch’s other case

before the Court, both he and Mr. Donziger should rest assured

that the undersigned fully appreciates that attorneys must act

as zealous advocates for their clients’ positions in all cases

and that Mr. Frisch’s representation of Mr. Donziger at trial

will not in any way color the Court’s view in other proceedings.1

Thus, the Court is satisfied that Mr. Frisch’s other case does

not create any conflict of interest that would affect Mr.

Donziger’s trial defense.

    III. Conclusion

      For the foregoing reasons and as explained at the Curcio

hearing, Mr. Friedman and Ms. Littlepage are disqualified, and

if Mr. Garbus and Ms. Regan decline to appear at trial or the

circumstances of their appearance are unacceptable to Mr.

Donziger or they are not in a position to act as lead counsel,

Mr. Frisch will represent Mr. Donziger at trial commencing on

September 9.


SO ORDERED.

Dated:     August 28, 2020                  _____________________________
           New York, New York               LORETTA A. PRSEKA, U.S.D.J.


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     In any event, if Mr. Donziger’s argument were extended to
its logical conclusion, each lawyer or law firm would be limited
to a single case at a time before any given judge in the
district. That cannot be the law.
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